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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION
                         CRIMINAL ACTION NO. 5:17-cr-00019-TBR

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.

STEPHEN M. PATTERSON, JR.                                                       DEFENDANT

                          MEMORANDUM OPINION AND ORDER

       This matter comes before the Court upon Defendant Stephen Patterson’s (“Patterson”)

Motion for Reconsideration. [DN 137]. The government has responded. [DN 139]. As such, this

matter is ripe for adjudication. For the reasons that follow, IT IS HEREBY ORDERED that

Patterson’s Motion for Reconsideration [DN 137] is DENIED.

       In his Motion for Reconsideration, Patterson argues that he is not a dangerous criminal and

he should not have to contract COVID-19 in order to be eligible for release. However, Patterson

does not present any new information to that Court that was not considered in the Court’s earlier

decision. [DN 136]. In the earlier Opinion, the Court found Patterson had not shown proof of

exhaustion of administrative remedies. [Id. at 3]. At that time, district courts were split on the issue

of waiver of this requirement. However, since the Court’s decision, the Sixth Circuit has held the

exhaustion requirement is mandatory. See United States v. Alam, 960 F.3d 831, 833-834 (6th Cir.

2020). Therefore, the Court cannot grant Patterson relief without proof of exhaustion.

       Notwithstanding the fact Patterson had not shown evidence of exhaustion, the Court

considered the merits of Patterson’s argument. Patterson still does not provide evidence or even

argue that his high blood pressure and other heart conditions are not being managed within the

facility. He also does not provide evidence that there is currently an uncontrolled outbreak of the

virus where he is being housed. Without evidence that either his conditions are not being managed,
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or there is an outbreak of the virus, the Court cannot grant Patterson relief. Further, Patterson has

not provided any evidence that would change the Court’s earlier finding that the 18 U.S.C. §

3553(a) sentencing factors do not justify release. Therefore, Patterson’s motion must be denied.

       For the above stated reasons, IT IS HEREBY ORDERED that Patterson’s Motion for

Reconsideration [DN 137] is DENIED.

       IT IS SO ORDERED.




                                                                               November 5, 2020




cc: Stephen M. Patterson, Jr.
19000-033
GRAYSON COUNTY DETENTION CENTER
320 Shaw Station Road
Leitchfield, KY 42754
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